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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF RHODE ISLAND

 In Re: David W. Wagner                                               Chapter 7
                                                                      No. 18-10071
                        Debtor


    MULTIPLE CREDITORS’ MEMORANDUM OF LAW ON DEBTOR’S BLANKET
                    OBJECTIONS TO THEIR CLAIMS

         David Hilderbrand, David Kiderman, Ryan Detzel, Mark Miller, John Hart, Andrew

 Hatch, Stephen Forden, Chad Decker, Timothy Caver, Barry Keenan, William Koch, Jan

 Mosholt, Ponce Kenton, Gregory Siuciak, Vince Schuessler, and Melissa Fitzpatrick (the

 "Creditors” or singly, a “Creditor”) hereby respectfully present this Memorandum of Law as to

 the Debtor’s blanket objections to their proofs of claim.

                 Summary of Argument

         A.      The Debtor (sometimes, “Mr. Wagner” or “Wagner”) is attempting to make a

 mockery of the claims allowance and adjudication process in this case through his bad-faith,

 dishonest, and vexatious filing of blanket, across-the-board objections to some 50 proofs of

 claim. He filed rote objections to each of those 50 claims despite earlier having listed each of

 them as not being “disputed” in his sworn-to bankruptcy schedules. And he objected to each of

 the Creditors’ and others’ proofs of claim due to an asserted alleged lack of documentation

 despite that:

                 (i) substantial and detailed documentation was filed with each of the Creditors’

         proofs of claim in support thereof (after first having been gathered and assembled at

         considerable effort by the Creditors and their undersigned and other counsel), including

         documentation consisting of a lengthy and detailed arbitrator’s decision, ruling, and

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        award that, as to the majority of such claims, exhaustively, overwhelmingly, and

        dispositively established the Debtor’s pervasive fraud and other wrongful conduct and his

        personal liability for such claims—and, importantly, of which he and his counsel were

        fully aware prior to the time the blanket objections were filed;

                (ii) even notwithstanding that, the Debtor, who can accurately and without

        hyperbole be described as the “ring-leader” of an extensive fraudulent enterprise—as the

        attached arbitration decisions and rulings clearly and conclusively establish—was

        intimately familiar with the documentation supporting each such claim arising out of that

        enterprise that he created and operated, and through his blanket objections has

        pretextually concocted a feigned need for documentation 1; and

                (iii) one can speculate as to whether the Debtor or his counsel ever actually

        reviewed the Creditors’ proofs of claim and the attachments thereto before filing his

        blanket objections on the basis of lack of documentation, or did and was simply

        indifferent about what was found, but there is no speculation that, before he filed his

        blanket objections, the Debtor never requested that any Creditor provide to him additional

        documentation.

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   It should not be lost in the factual and legal presentation here that, as a threshold matter, the
 Debtor has failed to show a valid and legitimate purpose for his objecting to claims in the first
 instance in a chapter 7 case in which there is no money. A debtor may wish to file valid and
 good faith objections at a point in a case where there is a surplus with creditors first being paid in
 full, 100% plus interest, as their may then be money available to the debtor. But this is a case
 with claims totaling in the millions of dollars and with no cash on hand, which is why labelling
 the blanket objections as “vexatious” is accurate and entirely justified—if not understated—
 particularly when one considers the wasteful expenditure of time, effort, money and resources of
 the Creditors, other creditors, their counsel, and the Court in having to respond to the Debtor’s
 bad faith blanket objections. Note that a chapter 7 trustee is the one who generally would and
 should be filing objections to claim, but there only “if a purpose would be served.” Bankruptcy
 Code § 704(a)(5) (noting “Duties of a Trustee”).
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         B.     For these reasons, the Court should find and determine that the blanket objections

 have been filed in bad faith and with such determined ignorance of or indifference to facts, or

 both, and are otherwise, in all events, so insufficient, that, under applicable law, the Debtor has

 not through them rebutted or overcome the prima facie validity of the Creditors’ proofs of claim,

 and thus that the burden at this point is and remains on the Debtor to produce evidence for and to

 prove that those claims must be disallowed, in the absence of which, without more, such claims

 must be found to be allowed.

                Background

         1.     The Debtor filed his chapter 7 petition with this Court on January 17, 2018, and

 his bankruptcy schedules and statement of financial affairs two weeks later on January 31, 2018.

 He initially proceeded pro se in this case but has been represented by counsel since at least May

 2018.

         2.     Prior to the chapter 7 filing, nine (9) of the Creditors, in 2017, had commenced an

 arbitration action with the American Arbitration Association Commercial Arbitration Tribunal in

 New York before Arbitrator Stephen F. Ruffino, Case No. 01-17-0001-3167: Timothy Caver,

 Chad Decker, Barry Keenan, William Koch, Jan Mosholt, Ponce Kenton, Gregory Siuciak, Vince

 Schuessler and Melissa Fitzpatrick (the “3167 Arbitration”). Three (3) of the Creditors had

 earlier, in 2016, commenced similar arbitration proceedings in arbitration Case No. 01-16-0005-

 6312: John Hart, Stephen Forden, and Andrew Hatch (the “6312 Arbitration”). And four (4) of

 the Creditors had brought suit in the United States District Court for the Southern District of

 New York, commencing case No. 16-cv-04040: David Hilderbrand, David Kiderman, Mark

 Miller, and Ryan Detzel (the “District Court Action”).


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        4.      The arbitration proceedings had been brought against the Debtor and his affiliated

 and related entities and individuals, including Downing Investment Partners, LP, Downing

 Partners, LLC, Downing Acquisition Partners, LLC, Hanover Square Capital Partners, LP,

 Cliniflow Technologies, LLC, Michael H. Shaut, Richard L. Buckingham, Marc M. Lawrence,

 Brett Giffin, Cornelius E. Colley, and the Wagner Family Educational Trust of 1/20/2004

 (collectively, as to both the 3167 Arbitration and the 6312 Arbitration, the “Arbitration

 Respondents”; and with the Creditors in both such arbitration proceedings being here the

 “Arbitration Plaintiffs”) for fraud, fraud in the inducement, misrepresentations and other claims,

 alleging that the Debtor and others of the Arbitrator Defendants had defrauded such arbitration

 plaintiffs out of between $150,000 and $250,000 each. Arbitration of disputes and claims was

 provided for through the private placement memoranda (as to investments and securities)

 (“PPM’s”) and employment agreements that had been provided to the Creditors.

        5.      The 6312 Arbitration had concluded before the chapter 7 filing through an

 extensive decision and award rendered by the arbitrator in the proceeding on November 21, 2017

 by Arbitrator Carol A. Mager, through which, among other rulings, she found Mr. Wagner and

 the other Arbitration Respondents there liable to the Arbitration Plaintiffs in that matter for over

 $1.1 million in actual and punitive damages for his fraudulent conduct, which is described in

 detail in her decision and award, attached as Exhibit A hereto. (the “6312 Arbitration Award”)

        6.      In the 3167 Arbitration, the Arbitrator after extensive hearings on December 6, 7

 and 8, 2017, issued a comprehensive 49-page decision and award (containing 110 footnotes) on

 March 12, 2018 in favor of the Arbitration Plaintiffs there and against the Arbitration

 Respondents “for fraud, including fraud in the inducement for their misrepresentations,


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 fraudulent statements, and other fraudulent conduct.” Exhibit B—the “March 2018 Award.”

 That Award contains numerous detailed findings of fact and conclusions of law, and a 16-

 paragraph conclusion which, inter alia, assessed liability among the Arbitration Respondents for

 $3,029,488.77, punitive damages of $6,058,967.45 (twice the amount for fraud) and

 $1,010,031.55 for attorneys’ fees. Further state law-specific awards in excess of $1.7 million

 were also made by the Arbitrator in his March 2018 Award. The Debtor was sent a copy of the

 March 2018 Award by the American Arbitration Association, and otherwise received it shortly

 after it was issued.

         7.      Seeing what had happened in and the result of the 6312 Arbitration, and no doubt

 seeing “the writing on the wall” in the 3167 Arbitration after several days of hearings in that the

 month before, Mr. Wagner filed his chapter 7 petition the following month, in January 2018.

 Upon being informed of the Debtor’s bankruptcy filing, the Arbitrator there excluded the Debtor

 from any ruling and award, but included in that Award this statement: “The absence of his [Mr.

 Wagner—the Debtor’s] name from these liability [for fraud] determinations is not intended as an

 exoneration but only a deferral pending resolution of the bankruptcy.” Exhibit B; at 29, ¶ 94.

 The Arbitrator also stated, “… but for the bankruptcy filings, Wagner would have been found

 jointly and severally liability under this [fraud] claim and all others…” Id.

         8.      On August 30, 2018, the Arbitration Plaintiffs filed a motion for relief from the

 automatic stay with this Court for the limited purpose of allowing the Arbitrator to make his final

 findings of fact and conclusions of law in the 3167 Arbitration against or otherwise in respect to

 the Debtor and also to issue and enter his award as it relates to the Debtor.

         9.      A copy of that motion, with the March 2018 Award attached as an exhibit thereto


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 (Doc. no. 84), was served on the Debtor and his counsel. After hearing and considering that

 motion, and the objection to it filed by the Debtor’s counsel (Doc. no. 92), the Court, on October

 23, 2018, entered an order granting relief from the automatic stay for such purpose. (Doc. no.

 101)

        10.     The Court’s relief from stay order provided, inter alia, that: (i) Arbitrator Stephen

 F. Ruffino could resume the arbitration proceeding and render his finding of facts, conclusions of

 law, and decision and award therein as to the Debtor as if Mr. Wagner’s bankruptcy filing had

 not intervened in that arbitration proceeding; (ii) the Arbitration Plaintiffs could file such papers

 and otherwise take all such steps and actions necessary to have the Arbitrator’s final decision and

 award, and, if required, such other rulings, findings and conclusions of the Arbitrator, including

 in respect to Mr. Wagner, confirmed by an appropriate court; and (iii), for clarification and

 confirmation, nothing in the Court’s order should be read or construed to prevent the Debtor

 from filing any appropriate papers in the arbitration or in any court proceeding for the

 confirmation of the Arbitrator’s rulings, and/or final decision and award.

        11.     Thereafter, the arbitration resumed and, in February 2019, the Arbitrator issued a

 second decision and award, his 48-page “Award of the Arbitrator Regarding David W. Wagner”

 (Exhibit C—the “Final Award.”). Like the March 2018 Award by him, the Final Award is also

 comprehensive and detailed, with 109 footnotes. Its pertinent provisions are summarized later in

 this memorandum.

        12.     The complaint in the District Court Action is attached as Exhibit D hereto, and

 similarly lays out in detail the fraudulent conduct of Mr. Wagner. It was attached to four of the

 proofs of claim. The Creditors’ arbitration and federal district court proceedings with the Debtor


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 center around the Debtor’s fraudulent conduct in regard to certain investments made by the

 Creditors into companies owned and/or controlled by the Debtor described by the arbitrator in the

 March 2018 Award as “a nationwide Ponzi scheme with an employment twist.”

        13.     Prior to the filing of the blanket objections, the Creditors filed a comprehensive

 non-dischargeability complaint against the Debtor under Bankruptcy Code (11 U.S.C. § 101 et

 seq.) § 523, based primarily on those arbitration and federal district court actions and the

 allegations and findings therein, specifically seeking a non-dischargeability determination under

 Bankruptcy Code §§ 523(a)(6), 523(a)(2)(A), 523(a)(4) and 523(a)(2)(B). They also filed a

 complaint objecting to the Debtor’s discharge under Bankruptcy Code § 727.

                The Schedules and Claims

        14.     Each of the Creditors’ claims were listed by the Debtor in his sworn-to schedules

 accompanying his petition as “contingent.” None was scheduled or otherwise listed as being

 “disputed.”

        15.     While having filed the petition pro se, the Debtor has been represented by

 counsel—sometimes two attorneys—since at least May 25, 2018, when an attorney first filed a

 formal entry of appearance for Mr. Wagner. The Debtor has not amended such schedules, and

 thus, from the inception of this case to the present, and after employment of two separate

 counsel, each of the Creditors’ claims continues to appear in the schedules without being listed or

 designated as “disputed.”

        16.     Each of the Creditors filed proofs of claim in this case. Each proof of claim has

 written documentation supporting the claim attached to it. Such documentation consists of a

 copy of the 23-page November 2017 6312 Arbitration Award and its detailed findings, or the 48-


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 page March 2018 Award (if the Creditor was also an Arbitration Plaintiff) or a copy of the

 Second Amended Complaint filed in the District Court Action. Where the attached

 documentation supporting the claim is the March 2018 Award there is also a breakdown of the

 awarded amounts per Creditor provided as a further attachment, with additional detail, such as

 the following which is, as an example, attached to the proof of claim of Chad Decker:

         The Proof of Claim amount of $824,273.04 is broken down as follows:
     •    $218,376.29 awarded to Chad Decker for his claim in Arbitration 01-17-0001-3167.
     •    $605,896.75 is 1/10th of the punitive damage award entered by the Arbitrator in
          Arbitration 01-17-0001-3167. There were ten plaintiffs involved in the Arbitration with
          the Arbitrator entering punitive damages of $6,058,967.54.

         17.    On January 10, 2019, the Debtor, through counsel, filed what can appropriately be

 considered to be blanket, across-the-board objections to 50 claims, including the claims of the

 Creditors (doc. No. 176-225). The Trustee filed a response to the blanket objections on January

 22, 2019.

         18.    In her response, the Trustee noted that the Debtor fails to state in his blanket

 objections that he made any effort whatsoever to communicate with any of the Creditors to

 request documentation from them before filing his objections.

         19.    In response to the Trustee’s filing, the Court, on February 8, 2019, directed the

 Debtor to file a memorandum of law addressing whether the Debtor’s scheduling of claims as

 contingent or unliquidated, but not as disputed, should be deemed an admission by the Debtor of

 his personal liability for the claims and the Debtor should be precluded from disputing such

 liability through the blanket objections. The Court, through that order, also permitted the Trustee

 to file a reply memorandum of law and any creditors affected by the blanket objections to, if they



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 choose, file a memorandum of law on the same legal issue. The Court thereafter extended the

 time periods for such filings.

          20.   The Debtor filed a legal memorandum, through counsel, in which he failed to

 address in any straight-forward or direct manner the specific legal point identified in the Court’s

 February 8th order. The Debtor’s memorandum of law simply does not address the specific issue

 of whether the Debtor’s scheduling of claims as contingent or unliquidated, but not as disputed,

 should be deemed an admission by the Debtor of his personal liability for the claims; and

 whether the Debtor should thus be precluded from disputing such liability through the blanket

 objections.

                Bad Faith Objections—No Shifting of Burden

          21.   The blanket objections should be stricken as being filed in bad faith, including in

 violation of Bankruptcy Rule 9011(b). See In Re MacFarland 462 B.R. 857 (Bankr. S.D. Fla.

 2011).

          22.   If and to the extent that the Court does not grant a motion to strike the blanket

 objections, the Creditors request that the Court enter an order finding that the blanket objections,

 having been filed in bad faith and being otherwise insufficient, have not defeated the prima facie

 validity that should be accorded the Creditors’ proofs of claim.

          23.   The well-established presumption and burden of production and of proof construct

 in connection with considering proofs of claim and objections to them is that a proof of claim is

 entitled to prima facie validity, but that is overcome in the face of a valid and legitimate

 objection. The Creditors ask this court to determine that the blanket objections, to the extent that

 they survive a motion to strike, do not constitute bona fide, good faith, valid or legitimate


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 objections, and thus there has been no overcoming of the prima facie validity of the proofs of

 claim, and thus, the burden of production and proof is and must remain with the Debtor to

 overcome and defeat the validity of each claim, and to do so by a preponderance of the evidence.

        24.     It is universally acknowledged that the rules concerning the burden of proof,

 production, and the shifting of the same in respect to claims and claim objections is as follows:

        a.      A properly filed and executed proof of claim is prima facie evidence of its
                validity;
        b.      The burden is on the objecting party to produce evidence in support of the
                objection of a quality sufficient to rebut the claimant’s prima facie case;
        c.      The objecting party has the burden of establishing the grounds for disallowance of
                the proof of claim; and
        d.      If and upon the objecting party producing rebuttal evidence of such quality and
                sufficiency, the burden shifts back to the claimant to produce additional evidence
                to prove the validity of the claim by a preponderance of the evidence.
 VBF LLC v. Campbell Soup Company 482 F.3d 624 (3rd Cir. 2007), Matter of Fidelity Holding

 Co., ltd. 837 F.2d 696, 698 (5th Cir. 1998); and In Re Admetric Biochem, Inc., 284 B.R. 1 (Bankr.

 D. Mass. 2002) (collecting cases). See also In Re Allegheny Intern, Inc., 954 F.2d 167, 173-74

 (3rd Cir. 1992) (holding that the objector to a proof of claim must produce evidence equal in force

 to the prima facie case, otherwise the burden never reverts to the claimant to prove the validity of

 the claim, but instead the claim remains as having been prima facie established).

        25.     “To overcome this prima facie evidence, the objecting party must come forth with

 evidence which, if believed, would refute at least one of the allegations essential to the claim."

 Sherman v. Novak (In re Reilly), 245 B.R. 768, 773 (2d Cir. B.A.P. 2000) (citing In re Allegheny

 Int'l, Inc., 954 F.2d 167 (3d Cir.1992); In re Giordano, 234 B.R. 645, 650 (Bankr. E.D. Pa.

 1999)). Specifically, a proof of claim in a bankruptcy proceeding "cannot be defeated by mere

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 formal objection and the sworn proof is to be treated as some evidence even when it is denied."

 In re Sabre Shipping Corp., 299 F. Supp. 97, 99 (S.D.N.Y. 1969). If the objector does not

 "introduce[] evidence as to the invalidity of the claim or the excessiveness of its amount, the

 claimant need offer no further proof of the merits of the validity and the amount of the claim.” 4

 Collier on Bankruptcy 502.03[3][f] (rev. ed. 2007).

        26.     The specific rules that came into effect through amendments to the Bankruptcy

 Rules in 2011 and 2012 that require additional information to accompany a proof of claim do not

 apply here. Those rule changes primarily added requirements of additional information in regard

 to request for interest, fees, expenses and other charges, where there is a need for an itemization

 of those items, where a security interest is claimed in the debtor’s property, or where the debt at

 issue is one based on an open-end or revolving consumer credit agreement. None of these

 specific requirements apply here. And further, while there is a general requirement that when a

 claim is based on a writing, a copy of the writing is to be filed with the proof of claim, even

 where it has not been, the court has discretion as to what the response should be. Rule

 3001(c)(2)(D). It has been held that such rule does not provide authority for the court to deny a

 creditor’s claim based solely on its failure to attach documentation to a proof of claim. In Re

 Reynolds, 470 B.R. 138, 145 (Bankr. D. Colo. 2012).

        27.     As to the level of written documentation required to support a filed proof of claim,

 the court in In re Minbatiwalla, 424 B.R. 104 (Bankr. S.D. N.Y. 2010), stated that:

        Furthermore, a creditor could establish a prima facie case through the use of summaries
        so long as the creditor makes “the underlying documents available for examination at a
        reasonable place and time.” Id. (citing In re Cluff, 313 B.R. 323, 335–36 (Bankr.D.Utah
        2004); Fed.R.Evid. 1006 (“The contents of voluminous writings ... may be presented in
        the form of a ... summary.... The originals, or duplicates, shall be made available for
        examination or copying, or both, by other parties at [a] reasonable time and place....”)).

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 The attachments to the Creditors’ proofs of claim more than satisfy such requirements.

        28.     The court in Minbatiwalla also addressed the situation here, where claims were

 never listed as “disputed” but then the debtor filed an objection to that non-disputed claim,

 noting that:

        Some courts find that where the debtor schedules the claim as undisputed, but then
        objects to the claim, the court will take judicial notice of the debtor's schedules, and the
        burden of proof shifts to the debtor to refute the claim even if the claim otherwise lacks
        prima facie validity for lack of sufficient documentation. See In re Jorczak, 314 B.R. 474,
        483 n. 11 (Bankr.D.Conn.2004) (“[W]hen a ‘proof of claim’ [against an estate surplus]
        has been filed in a chapter 7 case and the chapter 7 debtor objects to the same but
        scheduled the relevant claim as undisputed, the burden is on the debtor to offer some
        adequate level of explanation as to why his scheduling of that claim as undisputed was
        incorrect.”) (credit card claim)

        29.     Importantly, the court in Minbatiwalla noted that prior to objecting to the

 creditor’s (J.P. Morgan Chase Bank, N.A. (“Chase”)) proof of claim at issue there—on the basis

 that sufficient documentation was not attached to it—the debtor, through counsel, had first made

 a detailed request of documentation from the creditor, Chase, which was not produced:

        On October 22, 2009, Debtor's counsel requested documentation from Chase supporting
        Claim # 2. In the letter, counsel indicated that Chase only attached “Exhibit A” to the
        claim, showing a summary, arrearage and post-petition chart. In addition, Debtor's
        counsel requested that (a) Chase forward any missing pages from the Claim, and (b)
        advise which entity currently holds the note and mortgage and whether or not there have
        been any assignments. According to the Debtor, Chase has not responded to the request.

        30.     The court in Minbatiwalla cited approvingly to the decision in In re Jorczak

 where the court held that where a chapter 7 debtor objects to a claim but had earlier scheduled

 that claim as undisputed, the burden never shifts and remains on the debtor to offer some

 adequate level of explanation as to why his scheduling of that claim as undisputed was incorrect.

 In re Jorczak, 314 B.R. 474, 483 n.11 (Bankr. D. Conn. 2004). This is because statements in

 bankruptcy schedules are executed under penalty of perjury and, when offered against a debtor,
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 are eligible for treatment as judicial admissions. In re Rolland, 317 B.R. 402, 421-422 (Bankr.

 C.D.Cal. 2004).

                Summary of Final Award Findings and Rulings

        31.     The Debtor has made a judicial admission that the claims of the Creditors are not

 disputed, and he should be found to be bound by that—particularly on these facts, and under

 these circumstances. But beyond this, the Debtor’s blanket objections must be found to have

 been filed in bad faith as there was overwhelming support through the attachments to those

 proofs of claim for the Debtor’s liability, as the Debtor was very well aware when he filed his

 blanket objections, as evident from the earlier arbitration proceedings, decisions and awards, as

 evident in the following findings and rulings made in the Final Award (Exhibit C):

         (i) Wagner was the alter ego of the various legal entities listed as respondents [those
 being the entity respondents in the Arbitration, and including Downing Investment Partners, LP,
 Downing Partners, LLC, Downing Acquisition Partners, LLC, Hanover Square Capital Partners,
 LP, Cliniflow Technologies, LLC, and the Wagner Family Educational Trust of 1/20/2004]; at p.
 2.
         (ii) Wagner “fully directed and controlled all their [identified entities’] actions, redirected
 funds, and raided such funds for his personal benefit, without regard to any legal requirements
 that applied to the management of those entities.” At pp. 2-3.

         (iii) The Creditors were recruited to be employees of one or more of these controlled
 entities, and as part of their employment were required to invest into one or more of such entities.
 As part of the process of recruiting the Creditors, they were promised salaries, expense
 reimbursement, bonuses and healthcare stipends and, in addition, were required to invest
 between $150,000 and $250,000 as specified in private placement memoranda. At p. 3.

         (iv) The Creditors’ respective employments agreements and such PPM’s contain
 arbitration provisions and Mr. Wagner [the Debtor] participate dint he prior arbitration
 proceedings, both directly and indirectly. At p. 3.

         (v) “Claimants Decker, Carver, Keenan, Kosh, Mosholt, Kenton, Siuciak, Schuessler and
 Fitzpatrick each testified credibly as to the events of their respective recruitments, and the
 conduct of the arbitration respondents; and they have fully satisfied their burden of proof with
 respect to each claim in this arbitration.” At p. 3.


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        (vi) “The evidence is overwhelming that Respondents’ entire employment process was a
 scheme, directed and controlled by Wagner [the Debtor], intended solely to entice new
 employee-investors, knowing their money would be redirected to unstated purposes that would
 not benefit the company into which the money was invested.” At p. 3.

         (vii) Prior to the Arbitration Plaintiffs becoming employed by the Respondent Entities,
 the Arbitration Respondents had failed to pay their employees’ wages, expenses and healthcare
 costs beginning in at least October 2014. Wager [and others] on behalf of [certain Respondent
 Entities], omitted to tell the arbitration plaintiffs that they were not paying their current
 employees’ salaries, expenses or healthcare at the time of their recruitment. At the time of their
 recruitment, the Arbitration Respondents knew or should have known that they could not afford
 to pay the arbitration plaintiffs, their agreed-to salaries, expenses, healthcare and bonuses. At p.
 3.

         (viii) Prior to the Arbitration Plaintiffs becoming employed, the Arbitration Respondents
 had entered into numerous promissory notes with former employees related ma unpaid back
 wages, salary and expenses and return of investments and the Arbitration Respondents had
 defaulted on each promissory note. Also prior to their employment, the Arbitration Respondents
 had been sued or were being sued by at least seven former employees, with such suits dating
 back to March 2015, alleging that they had all invested into the Respondent Entities with a
 promise of salary but that they were never paid their salary or return of their investments. At p. 5.

        (ix) Before being employed by the Entity Respondents, a particular trumpeted product
 had not been commercialized, nor did it have what were represented to be numerous “beta sites”,
 and none had been used in any clinical setting and there was no promised so-called vox space
 mediData product to sell. At p. 7.

         (x) Wagner [the Debtor] used entity funds for personal expenses and transferred funds to
 his wife who had no involvement in the entities, and was paid $792,042 in compensation from at
 least one entity while it reported a loss of approximately $5,250,000 in 2014. In addition, Mr.
 Wagner [the Debtor] liquidated partnership units owned by family trusts, with the result being
 $450,000 leaving one of the entities and going to the debtor and his Wagner Family Trust. At p.
 7.

       (xi) The Arbitration Respondents relied on recruiting new employees, and their
 mandatory investments into the respondent entities, in order to fund their operations. At p. 7.

         (xii) Certain individuals “acted with the knowledge and at the direction of Wagner [the
 Debtor] and, further, … Wagner was aware of all of the information that [such individual] had in
 respect to Respondents’ operations.” At p. 8.

        (xiii) Representations in the PPM’s regarding pending litigation were false. At p. 9.



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         (xiv) The District Court litigation identified above, which commenced on May 31, 2016,
 by a group of former employees had not been disclosed when additional employees and investors
 were being recruited, with such false statements including those that the respondent entities were
 “not a party to any material litigation, nor to the knowledge of Management is any litigation
 threatened against the Company [Respondent Entity] with may materially affect the business of
 the company or its assets.” At p. 11.

         (xv) The Debtor, as is shown through documentary evidence, including emails, directed
 an employee who was on board but had already failed to have been paid as promised, that he
 “will need to close five (5) of the open positions by June 30, 2016 in order to get that
 appointment [referring to that employee supposedly being appointed as president and CEO of an
 entity] and “close another five (5) open positions by August 31, 2016 in order to keep that
 position. These are all recruit-invest positions- at 250k each.” At p. 13.


                                              Respectfully submitted

                                              The Creditors
                                              By their Attorneys,


 May 1, 2019                                  /s/ Matthew J. McGowan
                                              Matthew J. McGowan, Esquire (2770)
                                              Salter McGowan Sylvia & Leonard, Inc.
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                                   UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF RHODE ISLAND


 In Re: David W. Wagner                                                                        Chapter 7
                                                                                               No. 18-10071
                                Debtor

                                              CERTIFICATE OF SERVICE

          I hereby certify that I have this date electronically filed the MULTIPLE CREDITORS’
 MEMORANDUM OF LAW ON DEBTOR’S BLANKET OBJECTIONS TO THEIR
 CLAIMS in this case with the Clerk of this Court using the CM/ECF System. The following are
 CM/ECF System participants in this case eligible to receive notice of the filing of such paper(s)
 electronically:

           Stacy B. Ferrara, Esq.                               sferrara@ndgrb.com

           Charles A. Pisaturo, Jr., Esq.                       Charlie@pisaturolaw.com

           Gary L. Donahue, Esq.                                ustpregion01.pr.ecf@usdoj.gov

           Russell D. Raskin, Esq.                              mail@raskinberman.com

        I further hereby certify that I have on July 17, 2018 served a copy of the above-referenced
 paper(s) on the following non CM/ECF participants by first class mail, postage prepaid, at the
 addresses noted below:


 David W. Wagner
 55 Downing Street
 E. Greenwich, RI 02818

 May 1, 2019                                                              /s/ Brittany Siter


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 Claimants Response to Blanket Obj to Claims.doc




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